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                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
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11     Agrícola Cuyuma SA, and                  Case No. CV 17-8220-DMG (SKx)
       Corporación Agrícola Viñasol SAC,
12
                                                JUDGMENT
13                 Plaintiﬀs,
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       v.
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16
       Corona Seeds, Inc., and
       Crites Seed, Inc.,
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                   Defendants.

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 1              e above-captioned action was tried by a jury from June 21 through 28, 2021,
 2   and the jury has rendered a verdict. Consistent with the jury’s findings,
 3         IT IS ORDERED AND ADJUDGED that:
 4              1. On all causes of action, Plaintiﬀ Agrícola Cuyuma SA shall recover nothing
 5                 from Defendant Corona Seeds, Inc. and the action is dismissed on the
 6                 merits as to Defendant Corona Seeds, Inc., which shall recover costs from
 7                 Plaintiﬀ Agrícola Cuyuma SA;
 8         2.      On the strict liability cause of action, Plaintiﬀ Agrícola Cuyuma SA shall
 9                 recover nothing from Defendant Crites Seed, Inc., and on the negligence
10                 cause of action, judgment is entered against Defendant Crites Seed, Inc. and
11                 in favor of Plaintiﬀ Agrícola Cuyuma SA in the total amount of $21,227.04,
12                 inclusive of prejudgment interest at the rate of 7%, and Plaintiﬀ Agrícola
13                 Cuyuma SA shall recover costs from Defendant Crites Seed, Inc.;
14         3.      On all causes of action, Plaintiﬀ Corporación Agrícola Viñasol SAC shall
15                 recover nothing from Defendant Corona Seeds, Inc. and the action is
16                 dismissed on the merits as to Defendant Corona Seeds, Inc., which shall
17                 recover costs from Plaintiﬀ Corporación Agrícola Viñasol SAC;
18         4.      On the strict liability cause of action, Plaintiﬀ Corporación Agrícola
19                 Viñasol SAC shall recover nothing from Defendant Crites Seed, Inc., and
20                 on the negligence cause of action, judgment is entered against Defendant
21                 Crites Seed, Inc. and in favor of Plaintiﬀ Corporación Agrícola Viñasol
22                 SAC in the total amount of $247,098.39, inclusive of prejudgment interest
23                 at the rate of 7%, and Plaintiﬀ Corporación Agrícola Viñasol SAC shall
24                 recover costs from Defendant Crites Seed, Inc.; and
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 1        5.        Jurisdiction of this case is retained to enter further orders, if necessary, that
 2                  are proper for execution, garnishment, or to award costs.1
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 4   DATED: July 15, 2021
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                                                             ________________________________
 6                                                           DOLLY M. GEE
 7                                                           UNITED STATES DISTRICT JUDGE

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              The parties shall comply with the procedure set forth in Local Rule 54 for the recovery of costs.
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